       -
           Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 1 of 7 PageID #: 1088
AO   2!Jk (Rev. -10/13/2021)  Judgment in a Criminal Case
                         Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                            Eastern District of New York
                                                                           )
                UNITED STATES OF AMERICA                                   )         JUDGMENT IN A CRIMINAL CASE
                                    v.                                     )
                                                                           )
                        ELVIS REDZEPAGIC                                             Case Number: 17-CDR-00228-001 (DRH)
                                                                           )
                                                                           )         USM Number: 9002-053
                                                                           )
                                                                           )          DAVID ROCHE, HASSAN AHMAD
                                                                           )         Defendant's Attorney
THE DEFENDANT:
                                                                                                                FI LED
~ pleaded guilty to count(s)             ONE OF THE INDICTMENT                                               IN CLERK'S OFFICE
                                                                                                       U.S. DISTRIC I COURT E.D.N.Y.
D pleaded nolo contendere to count(s)
                                                                                                             DEC O2 2021
  which was accepted by the court.
D was found guilty on count(s)
                                                                                                        LONG ISLAND OFFICE
                                                                                                                                    *
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                        Offense Ended              Count
18 USC 2,2339b(a)(1)                ATTEMPT TO PROVIDE MATERIAL SUPPORT TO

AND 23398(d)                        FOREIGN TERRORIST ORGANIZATIONS



       The defendant is sentenced as provided in pages 2 through                 7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)         2                                        ~ is   Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da~s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            11/19/2021
                                                                         Date of Imposition of Judgment

                                                                               /s/Denis R. Hurley




                                                                                              DENIS R. HURLEY, SENIOR, USDJ
                                                                         Name and Title of Judge


                                                                                                            12/2/2021
                                                                         Date
            Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 2 of 7 PageID #: 1089
AO 2458 (Rev.~09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                   Judgment-Page   -=-2- of   7
 DEFENDANT: ELVIS REDZEPAGIC
 CASE NUMBER: 17-CDR-00228-001 (DRH)

                                                           IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 TWO HUNDRED (200) MONTHS ON COUNT 1 OF THE INDICTMENT.




      ~ The court makes the following recommendations to the Bureau of Prisons:
             THAT THE DEFENDANT PARTICIPATE IN THE RDAP PROGRAM.




      Ill   The defendant is remanded to the custody of the United States Marshal.

      0 The defendant shall surrender to the United States Marshal for this district:
            0 at
                    - - - - - - - - - D a.m.                  D p.m.      on
            0 as notified by the United States Marshal.

      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0 before 2 p.m. on
            0 as notified by the United States Marshal.
            0 as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                      to
at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                          By---------------------
                                                                                             DEPUTY UNITED STATES MARSHAL
         Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 3 of 7 PageID #: 1090
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     3     of _ _1__
DEFENDANT: ELVIS REDZEPAGIC
CASE NUMBER: 17-CDR-00228-001 {DRH)
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 FIVE (5) YEARS ON COUNT 1 OF THE INDICTMENT.




                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check ifapplicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check ifapplicable)
5.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.    D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
        Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 4 of 7 PageID #: 1091

AO 245B (Rev~ 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page         4
                                                                                                                ---- 0
                                                                                                                              r   ------
                                                                                                                                        7
DEFENDANT: ELVIS REDZEPAGIC
CASE NUMBER: 17-CDR-00228-001 (DRH)

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
      aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines based on your criminal record, personal history and characteristics, and the nature and
      circumstances of your offense, you pose a risk to another person (including an organization), the probation officer, with prior
      approval of the Court, may require you to notify the person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk ..
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www .uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                -----------
   .    Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 5 of 7 PageID #: 1092
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                         Judgment-Page   5   of _   __,_7_ _
DEFENDANT: ELVIS REDZEPAGIC
CASE NUMBER: 17-CDR-00228-001 (DRH)

                                         SPECIAL CONDITIONS OF SUPERVISION
 THE DEFENDANT SHALL REPORT TO THE PROBATION OFFICE ANY AND ALL ELECTRONIC COMMUNICATIONS
 SERVICE ACCOUNTS (AS DEFINED IN 18 USC 2510(15) USED FOR USER COMMUNICATIONS, DISSEMINATION
 AND/OR STORAGE OF DIGITAL MEDIA (I.E. AUDIO, VIDEO, IMAGES). THIS INCLUDES, BUT IS NOT LIMITED TO,
 EMAIL ACCOUNTS, SOCIAL MEDIA ACCOUNTS, AND CLOUD STORAGE ACCOUNTS. THE DEFENDANT SHALL
 PROVIDE EACH ACCOUNT IDENTIFIER AND PASSWORD, AND SHALL REPORT THE CREATION OF NEW
 ACCOUNTS, CHANGES IN IDENTIFIERS AND/OR PASSWORDS, TRANSFER, SUSPENSION AND/OR DELETION OF
 ANY ACCOUNT WITHIN 5 DAYS OF SUCH ACTION. FAILURE TO PROVIDE ACCURATE ACCOUNT INFORMATION
 MAY BE GROUNDS FOR REVOCATION OF RELEASE. THE DEFENDANT SHALL PERMIT THE PROBATION OFFICE
 TO ACCESS AND SEARCH ANY ACCOUNT(S) USING THE DEFENDANT'S CREDENTIALS PURSUANT TO THIS
 CONDITION ONLY WHEN REASONABLE SUSPICION EXISTS THAT THE DEFENDANT HAS VIOLATED A
 CONDITION OF HIS SUPERVISION AND THAT THE ACCOUNT(S) TO BE SEARCHED CONTAINS EVIDENCE OF
 THIS VIOLATION. FAILURE TO SUBMIT TO SUCH A SEARCH MAY BE GROUNDS FOR REVOCATION OF RELEASE.

THE DEFENDANT SHALL COOPERATE WITH THE UNITED STATES PROBATION'S OFFICE'S COMPUTER AND
INTERNET MANAGEMENT/MONITORING ("CIMP") PROGRAM. COOPERATION SHALL INCLUDE, BUT NOT LIMITED
TO, IDENTIFYING COMPUTER SYSTEMS (AS DEFINED IN 18 U.S.C. SECTION 1030(e)(1)), INTERNET-CAPABLE
DEVICES, AND/OR ANY ELECTRONIC MEDIA CAPABLE OF DATA STORAGE THE DEFENDANT HAS ACCESS TO,
ALLOWING AN INITIAL EXAMINATION OF THE DEVICE(S), AND INSTALLATION OF MONITORING
SOFTWARE/HARDWARE ON THE DEVICE(S), AT THE DEFENDANT'S EXPENSE. THE MONITORING
SOFTWARE/HARDWARE IS AUTHORIZED TO CAPTURE AND ANALYZE ALL DATA PROCESSED BY AND/OR
CONTAINED ON THE DEVICE, INCLUDING THE GEOLOCATION OF THE DEVICE. THE DEFENDANT MUST
PROVIDE THE PROBATION OFFICE ADVANCE NOTIFICATION OF PLANNED USE OR PURCHASE OF ANY
DEVICE(S). THE DEFENDANT SHALL NOT USE ANY DEVICE(S) WITHOUT APPROVAL UNTIL COMPATIBILITY WITH
CURRENT MONITORING SOFTWARE/HARDWARE IS COMPLETED. THE PROBATION OFFICE MAY ACCESS THE
DEVICE AND/OR DATA CAPTURED BY THE MONITORING OF SOFTWARE/HARDWARE AT ANY TIME WITH OR
WITHOUT SUSPICION THAT THE DEFENDANT HAS VIOLATED THE CONDITIONS OF SUPERVISION. THE
DEFENDANT MAY BE LIMITED TO POSSESSING ONLY ONE PERSONAL INTERNET-CAPABLE DEVICE, TO
FACILITATE THE PROBATION OFFICE'S ABILITY TO EFFECTIVELY MANAGE AND MONITOR THE DEVICE. THE
DEFENDANT SHALL ALSO PERMIT SEIZURE AND REMOVAL OF COMPUTER SYSTEMS, INTERNET-CAPABLE
DEVICES, AND ANY ELECTRONIC MEDIA CAPABLE OF DATA STORAGE FOR FURTHER ANALYSIS BY LAW
ENFORCEMENT OR THE PROBATION OFFICE BASED UPON REASONABLE SUSPICION THAT A VIOLATION OF A
CONDITION OF SUPERVISION OR UNLAWFUL CONDUCT BY THE DEFENDANT HAS OR IS ABOUT TO OCCUR.
FAILURE TO COMPLY WITH THE MONITORING, SEIZURE AND/OR SEARCH OF ANY COMPUTER SYSTEMS,
INTERNET-CAPABLE DEVICES, AND ANY ELECTRONIC MEDIA CAPABLE OF DATA STORAGE MAY RESULT IN
ADVERSE ACTION SUCH AS SANCTIONS AND/OR REVOCATION. THE DEFENDANT SHALL INFORM ALL PARTIES
THAT ACCESS A MONITORED DEVICE, THAT THE DEVICE IS SUBJECT TO SEARCH AND MONITORING.

THE DEFENDANT SHALL PARTICIPATE IN A MENTAL HEALTH TREATMENT PROGRAM, INCLUDING ANGER
MANAGEMENT COMPONENT, AS APPROVED BY THE PROBATION DEPARTMENT. THE DEFENDANT SHALL
CONTRIBUTE TO THE COST OF SUCH SERVICES RENDERED AND/OR ANY PSYCHOTROPIC MEDICATIONS
PRESCRIBED TO THE DEGREE HE IS REASONABLY ABLE, AND SHALL COOPERATE IN SECURING ANY
APPLICABLE THIRD-PARTY PAYMENT. THE DEFENDANT SHALL DISCLOSE ALL FINANCIAL INFORMATION AND
DOCUMENTS TO THE PROBATION DEPARTMENT TO ASSESS HIS ABILITY TO PAY.

THE DEFENDANT SHALL SUBMIT TO A SUBSTANCE ABUSE TREATMENT EVALUATION AND, IF DEEMED
NECESSARY, PARTICIPATE IN AN OUTPATIENT TREATMENT PROGRAM SELECTED BY THE U.S. PROBATION
DEPARTMENT. THE DEFENDANT SHALL CONTRIBUTE TO THE COSTS OF SUCH TREATMENT NOT TO EXCEED
AN AMOUNT DETERMINED REASONABLE BY THE PROBATION DEPARTMENT'S SLINDING SCALE FOR
SUBSTANCE ABUSE TREATMENT SERVICES, AND SHALL COOPERATE IN SECURING ANY APPLICABLE THIRD
PARTY PAYMENT, SUCH AS INSURANCE OR MEDICAID. THE DEFENDANT SHALL DISCLOSE ALL FINANCIAL
INFORMATION AND DOCUMENTS TO THE PROBATION DEPARTMENT TO ASSESS HIS ABILITY TO PAY. THE
DEFENDANT SHALL NOT CONSUME ANY ALCOHOL OR OTHER INTOXICANTS DURING AND AFTER TREATMENT,
UNLESS GRANTED A PRESCRIPTION BY A LICENSED PHYSICIAN AND PROOF OF SAME IS PROVIDED TO THE
PROBATION DEPARTMENT. THE DEFENDANT SHALL SUBMIT TO TESTING DUING AND AFTER TREATMENT TO
ENSURE ABSTINENCE FROM DRUGS AND ALCOHOL.
          Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 6 of 7 PageID #: 1093
AO ~45·0 (Rev .•09'/19)   Judgment in a Criminal Case
                          Sheet S - Criminal Monetary Penalties
                                                                                                        Judgment- Page   --=6- of           7
 DEFENDANT: ELVIS REDZEPAGIC
 CASE NUMBER: 17-CDR-00228-001 (DRH)
                                                    CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment               Restitution              Fine                  AVAA Assessment*           JVTA Assessment**
 TOTALS              $ 100.00                  $                       $                      $                          $



 D The detennination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately pro:Qortioned payment, unless specified otherwise in
      the prioricy or~er or perc~ntage payment column below. However, pursuant to 18U.S.C. § 3664{1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                     Total Loss***              Restitution Ordered        Priority or Percentage




TOTALS                                  $          0.00                            $______              o_.o_o_
                                            ---------
D       Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the                D fine    D restitution.
       D the interest requirement for the              D    fine    D restitution is modified as follows:

* Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
         Case 2:17-cr-00228-DRH-ST Document 152 Filed 12/02/21 Page 7 of 7 PageID #: 1094
AO 2458 (Rev. 09119)   Judgment in a Criminal Case
                       Sheet 6-Schedule of Payments

                                                                                                         Judgment - Page   7     of          7
 DEFENDANT: ELVIS REDZEPAGIC
 CASE NUMBER: 17-CDR-00228-001 (DRH)

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     D Lump sum payment of$                                due immediately, balance due

            D     not later than _ _ _ _ _ _ _ _ _ , or
            □     in accordance with □ C, □ D,   D E,or                   D F below; or
 8     D Payment to begin immediately (may be combined with            D C,        D D, or      D F below); or
 C     D Payment in equal   _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
          _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal   _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
          _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or
 E     D Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     liZI Special instructions regarding the payment of criminal monetary penalties:
             THE $100 SPECIAL ASSESSMENT SHALL BE PAID ON OR BEFORE 1/15/2022.
             THE FINE IS WAIVED.




Unless the court has expressly ordered otherwise, ifthis jud~ent imposes imprisonment, payment ofcriminal mone!arY penalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several               Corr~sponding_ Payee,
      (including defendant number)                      Total Amount                      Amount                         1f appropnate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be aJ?plied in the following order: (1) assessment, (2) restitution princi_pal, (3) restitution interest, (4) AVAA assessment,
(SJ fine principal, (b) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
